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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW YORK, et al.,

         Plaintiffs,

                 v.                                    C.A. No. 1:25-cv-10601 (MJJ)

 LINDA McMAHON, et al.

         Defendants.


                        DECLARATION OF NATHANIEL J. HYMAN

        Pursuant to 28 U.S.C. § 1746, I, Nathaniel J. Hyman, do hereby state:

        1.      I am an Assistant Attorney General in the Office of the Attorney General for the

Commonwealth of Massachusetts. I am admitted to the U.S. District of Massachusetts, and appear

on behalf of the Commonwealth of Massachusetts in this action.

        2.      I submit this declaration in support of the Plaintiff States’ Motion for entry of a

Preliminary Injunction, pursuant to Federal Rule of Civil Procedure 65.

        3.      I make the following statements of my own knowledge or a review of files in my

possession, except as to those matters set forth herein as being based on my belief or understanding.

With respect to the latter, I believe them to be true.

        4.      Attached as an appendix is the list of exhibits attached to this declaration, in chart

form.

        5.      Attached as Exhibit 1 to this declaration is a true and accurate copy of Executive

Order: Improving Education Outcomes by Empowering Parents, States, and Communities (March

20, 2025), downloaded by a member of my team from https://www.whitehouse.gov/presidential-




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actions/2025/03/improving-education-outcomes-by-empowering-parents-states-and-

communities/.

       6.       Attached as Exhibit 2 to this declaration is a true and accurate copy of an August

19, 2021 GAO Letter to Congress entitled “Higher Education: Office of Federal Student Aid is

Beginning to Identify and Address Workforce Needs,” which I downloaded from the U.S.

Government        Accountability’s          website       at    https://www.gao.gov/products/gao-21-

542r#:~:text=In%202020%2C%20FSA%20began%20taking,levels%20to%20its%20employees'

%20workload.

       7.       Attached as Exhibit 3 to this declaration is a true and accurate copy of a March 3,

2025 Letter from Secretary Linda McMahon to the U.S. Department of Education, which was

downloaded        from     the       U.S.      Department        of    Education’s    website      at:

https://www.ed.gov/about/news/speech/secretary-mcmahon-our-departments-final-mission.

       8.       Attached as Exhibit 4 to this declaration is a true and accurate copy of Barnum et

al., Draft of Trump Executive Order Aims to Eliminate Education Department, Wall Street Journal

(Mar. 5, 2025).

       9.       Attached as Exhibit 5 to this declaration is a DPF print out of a press release issued

by the U.S. Department of Education entitled "U.S. Department of Education Initiates Reduction

in Force," U.S. Department of Education (Mar. 11, 2025), accessed online at:

https://www.ed.gov/about/news/press-release/us-department-of-education-initiates-reduction-

force on March 22, 2025.

       10.      Attached as Exhibit 6 to this declaration is a true and accurate copy of a March 14,

2025 Letter from Principal Deputy Assistant Secretary and Acting Assistant Secretary Hayley B.




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Sanon to Education Stakeholders, which I downloaded from the U.S. Department of Education’s

website at: https://www.ed.gov/sites/ed/files/2025-03/State%20Chief%20Letter.pdf.

       11.     Attached as Exhibit 7 to this declaration is a true and accurate copy of a March 14,

2025 Letter from Acting Undersecretary James Bergeron to Education Stakeholders, which I

downloaded       from     the     Office     of        Federal   Student      Aid’s   website     at:

https://fsapartners.ed.gov/sites/default/files/2025-

03/ActingUnderSecretaryJamesBergeronLettertoEducationStakeholdersMarch142025.pdf.

       12.     Attached as Exhibit 8 to this declaration is a PDF print out of a press release issued

by the Small Business Administration entitled "Small Business Administration Announces

Agency-Wide Reorganization," News Release 25-38 (Mar. 21, 2025), accessed online at:

https://www.sba.gov/article/2025/03/21/small-business-administration-announces-agency-wide-

reorganization on March 22, 2025.

       13.     Attached as Exhibit 9 to this declaration is a true and accurate copy of Bender, M.,

“Trump is Said to be Preparing Order That Aims to Eliminate Education Department,” New York

Times (Mar. 6, 2025).

       14.     Attached as Exhibit 10 to this declaration is a true and accurate copy of Wolf,

Zachary, “Trump and Musk are moving to smother these three pieces of government,” CNN (Feb.

5, 2025).

       15.     Attached as Exhibit 11 is a true and accurate copy of a screen-grab of a March 20,

2025 social media post on the “X” platform by Elon Musk.

       16.     Attached as Exhibit 12 is a true and accurate copy of the Declaration of K. Mackey,

Administrator for the Rehabilitation Services Administration at Arizona Department of Economic

Security.



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       17.    Attached as Exhibit 13 is a true and accurate copy of the Declaration of T.

Thurmond, Superintendent of Public Instruction for the State of California, overseeing California

Department of Education.

       18.    Attached as Exhibit 14 is a true and accurate copy of the Declaration of M. Acon,

Deputy Director of the Children, Adolescents, Young Adults Services (CAYAS) division of the

California Department of Developmental Services.

       19.    Attached as Exhibit 15 is a true and accurate copy of the Declaration of A. Paccione,

Executive Director at the Colorado Department of Higher Education.

       20.    Attached as Exhibit 16 is a true and accurate copy of the Declaration of N. Fuerst,

Vice President of Student Life and Enrollment at the University of Connecticut.

       21.    Attached as Exhibit 17 is a true and accurate copy of the Declaration of C. Marten,

Secretary of the Delaware Department of Education.

       22.    Attached as Exhibit 18 is a true and accurate copy of the Declaration of L.

Wilkinson, Director of the School Transformation Branch (STB) in the Office of Strategy

Innovation and Performance at the State of Hawaii Department of Education.

       23.    Attached as Exhibit 19 is a true and accurate copy of the Declaration of D. Halbert,

Vice President for Academic Strategy for the University of Hawai'i.

       24.    Attached as Exhibit 20 is a true and accurate copy of the Declaration of K. Gardner,

Assistant Superintendent of the Office of Student Support Services, at the State of Hawai'i

Department of Education.

       25.    Attached as Exhibit 21 is a true and accurate copy of the Declaration of E. Higashi,

Assistant Superintendent of the Office of Strategy, Innovation and Performance, at the State of

Hawaii Department of Education.



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       26.     Attached as Exhibit 22 is a true and accurate copy of the Declaration of T. Sanders,

Superintendent of Education.

       27.     Attached as Exhibit 23 is a true and accurate copy of the Declaration of A. Losasso,

Chief of Staff of the Division of Rehabilitation Services.

       28.     Attached as Exhibit 24 is a true and accurate copy of the Declaration of M. Gable,

Assistant State Superintendent for the Division of Student Support and Federal Programs in

Maryland.

       29.     Attached as Exhibit 25 is a true and accurate copy of the Declaration of N. Ortega,

Commissioner of Higher Education for the Massachusetts Department of Higher Education.

       30.     Attached as Exhibit 26 is a true and accurate copy of the Declaration of D. Barton,

Chief Deputy General Counsel at the University of Massachusetts.

       31.     Attached as Exhibit 27 is a true and accurate copy of the Declaration of M. Rice,

Superintendent of Public Instruction within the Michigan Department of Education.

       32.     Attached as Exhibit 28 is a true and accurate copy of the Declaration of B. Walker-

Griffea, of the Michigan Office of Early Childhood Education, Office of Higher Education, and

Office of Education Partnerships.

       33.     Attached as Exhibit 29 is a true and accurate copy of the Declaration of K. Ehling,

Assistant Commissioner for the Division of Educational Services & State Director of the

Elementary and Secondary School Emergency Relief Funds in New Jersey.

       34.     Attached as Exhibit 30 is a true and accurate copy of the Declaration of M. Gower,

Executive Vice President -- Chief Financial Officer & Treasurer at Rutgers in New Jersey.




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       35.      Attached as Exhibit 31 is a true and accurate copy of the Declaration of D. Morton-

Bentley, Counsel & Deputy Commissioner for Legal Affairs for the New York State Education

Department.

       36.      Attached as Exhibit 32 is a true and accurate copy of the Declaration of Dr. John

King, Jr. Chancellor of the State University of New York (SUNY).

       37.      Attached as Exhibit 33 is a true and accurate copy of the Declaration of J.

Boeckenstedt, Vice Provost of Enrollment Management at Oregon State University.

       38.      Attached as Exhibit 34 is a true and accurate copy of the Declaration of E. Nazrov,

Government and Legal Affairs Manager for Oregon Department of Education.

       39.      Attached as Exhibit 35 is a true and accurate copy of the Declaration of D. Libutti,

Associate Vice President for Enrollment Management and Student Success at the University of

Rhode Island.

       40.      Attached as Exhibit 36 is a true and accurate copy of the Declaration of D.

Echelson, Deputy Commissioner at the Rhode Island Department of Elementary and Secondary

Education (RIDE).

       41.      Attached as Exhibit 37 is a true and accurate copy of the Declaration of K. Savage,

Director of Division of Developmental Disabilities in Rhode Island.

       42.      Attached as Exhibit 38 is a true and accurate copy of the Declaration of K. Merolla-

Britto, Director of the Rhode Island Department of Human Services.

       43.      Attached as Exhibit 39 is a true and accurate copy of the Declaration of C. Bailey

Interim Executive Director for the Washington State Board of Community and Technical Colleges

(SBCTC).




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         44.   Attached as Exhibit 40 is a true and accurate copy of the Declaration of J.

Carmichael, President of the Evergreen State College.

         45.   Attached as Exhibit 41 is a true and accurate copy of the Declaration of A.

DeLaCruz, Education Attorney at the Tulalip Office of Civil Legal Aid.

         46.   Attached as Exhibit 42 is a true and accurate copy of the Declaration of T. Kelly,

CFO, Washington Office of the Superintendent of Public Instruction.

         47.   Attached as Exhibit 43 is a true and accurate copy of the Declaration of J. Loveday,

President of Clover Park Technical College.

         48.   Attached as Exhibit 44 is a true and accurate copy of the Declaration of P. Reid,

Vice Provost for Academic Strategy and Affairs at the University of Washington.

         49.   Attached as Exhibit 45 is a true and accurate copy of the Declaration of J. Britz,

Senior Vice President for Academic & Student Affairs at the University of Wisconsin.

         50.   Attached as Exhibit 46 is a true and accurate copy of the Declaration of Arne

Duncan, former Secretary of the U.S. Department of Education.

         51.   Attached as Exhibit 47 is a true and accurate copy of the Declaration of Terri

Gonzalez.

         52.   Attached as Exhibit 48 is a true and accurate copy of the Declaration of Catherine

E. Lhamon.

         53.   Attached as Exhibit 49 is a true and accurate copy of the Declaration of Sheria

Smith.

         54.   Attached as Exhibit 50 is a true and accurate copy of the Declaration of Rachel

Gittleman.




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       55.      Attached as Exhibit 51 is a true and accurate copy of the Declaration of Shayla

Hamlin.

       56.      Attached as Exhibit 52 is a true and accurate copy of the Declaration of Chris Miller.

       57.      Attached as Exhibit 53 is a true and accurate copy of the Declaration of Doe

Declarant 1.

       58.      Attached as Exhibit 54 is a true and accurate copy of the Declaration of Doe

Declarant 2.

       59.      Attached as Exhibit 55 is a true and accurate copy of the Declaration of Doe

Declarant 3.

       60.      Attached as Exhibit 56 is a true and accurate copy of the Declaration of Doe

Declarant 4.

       61.      Attached as Exhibit 57 is a true and accurate copy of the Declaration of Doe

Declarant 5.

       62.      Attached as Exhibit 58 is a true and accurate copy of the Declaration of Doe

Declarant 6.

       63.      Attached as Exhibit 59 is a true and accurate copy of the Declaration of Doe

Declarant 7.

       64.      Attached as Exhibit 60 is a true and accurate copy of the Declaration of Doe

Declarant 8.

       65.      Attached as Exhibit 61 is a true and accurate copy of the Declaration of Doe

Declarant 9.

       66.      Attached as Exhibit 62 is a true and accurate copy of the Declaration of Doe

Declarant 10.



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       67.      Attached as Exhibit 63 is a true and accurate copy of the Declaration of Doe

Declarant 11.

       68.      Attached as Exhibit 64 is a true and accurate copy of the Declaration of Doe

Declarant 12.

       69.      Attached as Exhibit 65 is a true and accurate copy of the Declaration of Dr. Jay

Perman, Chancellor of the University System of Maryland.

       70.      Attached as Exhibit 66 is a true and accurate copy of the Declaration of Doe

Declarant 14.

       71.      Attached as Exhibit 67 is a true and accurate copy of the Declaration of Doe

Declarant 15.

       72.      Attached as Exhibit 68 is a true and accurate copy of the Declaration of Doe

Declarant 16.

       73.      Attached as Exhibit 69 is a true and accurate copy of the Declaration of Colleen

Campbell.

Signed under the penalties of perjury this 24th day of March, 2025.

                                             /s/ Nathaniel J. Hyman
                                             Nathaniel J. Hyman (BBO No. 698506)
                                             Assistant Attorney General
                                             Office of the Attorney General, Massachusetts




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                                 CERTIFICATE OF SERVICE

        I certify that this document was filed through the CM/ECF system and will be sent
electronically to the registered participants as identified in the Notice of Electronic Filing (NEF),
and will be provided to the following counsel for the defendants by email:

       Brad Rosenberg
       Special Counsel
       Federal Programs Branch
       U.S. Department of Justice
       Brad.Rosenberg@usdoj.gov

       Michael Bruns
       Federal Programs Branch
       U.S. Department of Justice
       Michael.Bruns@usdoj.gov

       Lee Reeves
       Federal Programs Branch
       U.S. Department of Justice
       Lee.Reeves2@usdoj.gov

       Michael Fitzgerald
       Assistant United States Attorney
       District of Massachusetts
       Michael.Fitzgerald2@usdoj.gov

                                              /s/ Katherine Dirks
                                              Katherine Dirks




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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


STATE OF NEW YORK, et al.,

         Plaintiffs,

                 v.                                 C.A. No. 1:25-cv-10601 (MJJ)

LINDA McMAHON, et al.

         Defendants.


                                          APPENDIX

Exhibit
                                                    Description
 No.
  1.          Executive Order: Improving Education Outcomes by Empowering Parents, States,
              and Communities (March 20, 2025)
   2.         August 19, 2021 Letter of U.S. General Accounting Office
   3.         March 3, 2025 Letter of Secretary Linda McMahon to U.S. Department of Education
   4.         Barnum et al., Draft of Trump Executive Order Aims to Eliminate Education
              Department, Wall Street Journal (Mar. 5, 2025)
   5.         Press Release, “U.S. Department of Education Initiates Reduction in Force,” U.S.
              Department of Education (Mar. 11, 2025)
   6.         March 14, 2025 Letter from Principal Deputy Assistant Secretary and Acting
              Assistant Secretary Hayley B. Sanon to Education Stakeholders
   7.         March 14, 2025 Letter from Acting Undersecretary James Bergeron to Education
              Stakeholders
   8.         News Release 23-58, “Small Business Administration Announces Agency-Wide
              Reorganization” (Mar. 21, 2025)
   9.         Bender, M., “Trump is Said to Be Preparing Order That Aims to Eliminate Education
              Department,” New York Times (Mar. 6, 2025)
   10.        Wolf, Zachary, “Trump and Musk are moving to smother these three pieces of
              government,” CNN (Feb. 5, 2025)
   11.        March 20, 2025 X Post from E. Musk re: Tombstone for Department of Education
   12.        Declaration of K. Mackey
              Arizona Department of Economic Security
   13.        Declaration of T. Thurmond
              California Department of Education

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Exhibit
                                                Description
 No.
  14.     Declaration of M. Acon
          California Department of Developmental Services
  15.     Declaration of A. Paccione
          Colorado Department of Higher Education
  16.     Declaration of N. Fuerst
          University of Connecticut
  17.     Declaration of C. Marten
          Delaware Department of Education
  18.     Declaration of L. Wilkinson
          Hawai’i Department of Education
  19.     Declaration of D. Halbert
          University of Hawai'i
  20.     Declaration of K. Gardner
          Hawai'i Department of Education
  21.     Declaration of E. Higashi
          Hawaii Department of Education
  22.     Declaration of T. Sanders
          Illinois Superintendent of Education
  23.     Declaration of A. Losasso
          Illinois Division of Rehabilitation Services
  24.     Declaration of M. Gable
          Maryland Division of Student Support and Federal Programs
  25.     Declaration of N. Ortega
          Massachusetts Department of Higher Education
  26.     Declaration of D. Barton
          University of Massachusetts
  27.     Declaration of M. Rice
          Michigan Department of Education
  28.     Declaration of B. Walker-Griffea
          Michigan Office of Early Childhood Education, Office of Higher Education, and
          Office of Education Partnerships
  29.     Declaration of K. Ehling
          New Jersey Department of Education
  30.     Declaration of M. Gower
          Rutgers University
  31.     Declaration of D. Morton-Bentley
          New York State Education Department.
  32.     Declaration of Dr. J. King, Jr.
          State University of New York (SUNY)

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Exhibit
                                                Description
 No.
  33.     Declaration of J. Boeckenstedt
          Oregon State University
  34.     Declaration of E. Nazarov
          Oregon Department of Education
  35.     Declaration of D. Libutti
          University of Rhode Island
  36.     Declaration of D. Echelson
          Rhode Island Department of Elementary and Secondary Education
  37.     Declaration of K. Savage
          Rhode Island Division of Developmental Disabilities
  38.     Declaration of K. Merolla-Britto
          Rhode Island Department of Human Services
  39.     Declaration of C. Bailey
          Washington State Board of Community and Technical Colleges (SBCTC)
  40.     Declaration of J. Carmichael
          Evergreen State College
  41.     Declaration of A. DeLaCruz
          Tulalip Office of Civil Legal Aid
  42.     Declaration of T. Kelly
          Washington Office of Superintendent of Public Instruction
  43.     Declaration of J. Loveday
          Clover Park Technical College
  44.     Declaration of P. Reid
          University of Washington
  45.     Declaration of J. Britz
          University of Washington
  46.     Declaration of A. Duncan
          Former Secretary of Education
  47.     Declaration of T. Gonzales
          U.S. Department of Education, Office for Civil Rights, Dallas
  48.     Declaration of C. Lhamon
          U.S. Department of Education, Office for Civil Rights
  49.     Declaration of S. Smith
          AFGE Local 252; U.S. Department of Education, Office for Civil Rights
  50.     Declaration of R. Gittleman
          U.S. Department of Education, Office of Federal Student Aid (Office of the
          Ombudsman)
  51.     Declaration of S. Hamlin
          U.S. Department of Education, Office of Federal Student Aid (Office of Institutions
          of Higher Education Oversight & Enforcement)

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Exhibit
                                               Description
 No.
  52.     Declaration of C. Miller
          U.S. Department of Education, Office of Institutions of Higher Education
  53.     Declaration of Doe Declarant 1
          U.S. Department of Education, Office for Civil Rights, San Francisco
  54.     Declaration of Doe Declarant 2
          U.S. Department of Education, Division of Adult Education and Literacy
  55.     Declaration of Doe Declarant 3
          U.S. Department of Education, Office for Civil Rights, New York
  56.     Declaration of Doe Declarant 4
          U.S. Department of Education, International and Foreign Language Office
  57.     Declaration of Doe Declarant 5
          U.S. Department of Education, Office of Planning, Evaluation, and Policy
          Development
  58.     Declaration of Doe Declarant 6
          U.S. Department of Education, Federal Student Aid, Office of the Ombudsman
  59.     Declaration of Doe Declarant 7
          U.S. Department of Education, Office for Civil Rights, Cleveland
  60.     Declaration of Doe Declarant 8
          U.S. Department of Education, Office of English Language Acquisition
  61.     Declaration of Doe Declarant 9
          U.S. Department of Education, Federal Student Aid
  62.     Declaration of Doe Declarant 10
          U.S. Department of Education, Federal Student Aid
  63.     Declaration of Doe Declarant 11
          U.S. Department of Education, Federal Student Aid
  64.     Declaration of Doe Declarant 12
          U.S. Department of Education, Institute of Education Sciences
  65.     Declaration of J. Perman
          University System of Maryland
  66.     Declaration of Doe Declarant 14
          U.S. Department of Education, Office of General Counsel
  67.     Declaration of Doe Declarant 15
          U.S. Department of Education, Federal Student Aid
  68.     Declaration of Doe Declarant 16
          U.S. Department of Education, Office of Federal Student Aid
  69.     Declaration of C. Campbell
          U.S. Department of Education, Office of Federal Student Aid




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